                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                   CENTRAL DIVISION
                            CRIMINAL MINUTES - SENTENCING

United States of America

          vs                                        Case Number: 13-04051-09-CR-C-BCW


Gene Edward Rodgers, Jr.

Recorder/CRD: Denise Halasey/C. James
Date: July 26, 2016


Honorable Brian C. Wimes presiding at Jefferson City, Missouri

Time: 1:35 – 1:57
Dft plead to Count 1       of the superseding indictment on June 8, 2015 which is now
                                                    accepted by the court.

APPEARANCES                    Plaintiff: Jim Lynn
                                Defendant: Patrick Peters
                                Probation: Jaime Drummond

x_     Defendant appears in person and by counsel.
x_     No legal cause found to delay.
x_     PSI report received and reviewed by all parties.
x_     No Additions/Corrections made
x_     Allocution accorded.
x_     Dft sentenced to 24 months on Count 1
x_     Dft is to self-surrender at the institution on September 9, 2016 before 2:00 p.m.
x_     Special assessment of $100
x__     No Restitution
x__    Fine waived.
x__    Court orders dft to term of 4 years of Supervised Release on count 1.
x__    Special Conditions of Supervised Release : 1. Substance abuse testing program; 2. Searches
x__    Defendant advised of right to appeal.
x__    All remaining counts are moved to be dismissed by the Government -
x__    The Court recommends that the defendant be placed in a facility near Kansas City, MO and where he
       can participate in the 500 hour residential drug treatment program.
x__    Motion for downward departure is granted.




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